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                                    UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

CHARLES GONZALES,                                    §
                                                     §
          Plaintiff,                                 §
                                                     §
v.                                                   §     CIVIL ACTION NO. 4:18-cv-999
                                                     §
WILMINGTON SAVINGS FUND                              §
SOCIETY, FSB, D/B/A CHRISTIANA                       §
TRUST, NOT IN ITS INDIVIDUAL                         §
CAPACITY BUT SOLELY AS TRUSTEE                       §
FOR RMAC TRUST, SERIES 2015-5T                       §
AND RUSHMORE LOAN                                    §
MANAGEMENT SERVICES LLC                              §
     Defendants.                                     §

                    DEFENDANT’S DESIGNATION OF TESTIFYING EXPERTS
                             PURSUANT TO RULE 26(a)(2)(B).

          Pursuant to the Court’s Scheduling Order and Federal Rule of Civil Procedure

26(a)(2)(B), Defendant Cilici, LLC, its successors and assigns (“Cilici” or “Defendant”) hereby

files this Designation of Testifying Experts as follows:

1.        The following expert is expected to give testimony, under Federal Rule of Civil Evidence

701-705, at the time of trial:

Crystal Gibson
Barrett Daffin Frappier Turner & Engel, LLP
4004 Beltline Rd., Suite 100
Addison, Texas 75001
972-340-7924 (telephone)
972-341-0734 (facsimile)

          Crystal Gibson has been licensed to practice law in the State of Texas since 2000. She is

licensed in all state courts in the State of Texas and in all federal districts in the State of Texas.

She is also licensed before the Fifth Circuit Court of Appeals and the Federal Circuit.




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          Ms. Gibson has practiced extensively in commercial litigation since 2000. She is familiar

with attorneys’ fees charged in cases such as this, in the Southern District of Texas, as well as in

Austin, Brazos, Colorado, Fayette, Fort Bend, Grimes, Harris, Madison, Montgomery, San

Jacinto, Walker, Waller and Wharton Counties. Ms. Gibson is expected to testify regarding the

necessity of obtaining counsel in this matter and the reasonableness and necessity of attorneys’

fees incurred in the prosecution and defense of this cause of action. Further, she is expected to

testify as to the reasonableness and necessity, or lack thereof, of any other attorneys’ fees

asserted by any other party in this cause. She is also expected to testify in regard to the possible

attorneys’ fees that might be incurred in the event of appeal to the Fifth Circuit Court of Appeals,

or further appeal to the United States Supreme Court.

          Any and all documents that the expert has reviewed, or will be reviewed, have been

produced, or will be produced, and/or are available for inspection and copying in accordance

with the Federal Rules of Civil Procedure, subject to attorney/client privilege, or such documents

are matter of public record.

2.        Written Reports.

          a.         No reports have been prepared at this time. Defendant will supplement as reports

become available.

          b.         Reports will be supplemented as additional information is revealed during

discovery and Defendant reserves the right to supplement as discovery has not been completed in

this case.

3.        Defendant reserves the right to designate, at or before trial, any expert(s) that have been

or may be designated by any other party to this lawsuit.




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4.        Defendant reserves the right to call and/or designate other expert witnesses as rebuttal

witnesses, the need for which and identity of which cannot be reasonably anticipated at this time.

5.        Defendant and its experts reserve the right to utilize all or part of the literature and/or

documents produced, identified or relied upon by any other party’s expert witnesses. Defendant

and its experts reserve the right to utilize the deposition testimony of any other party’s expert

witnesses, to the extent such individuals created documents, as fact/expert witnesses, and

Defendant and its designated experts may utilize all such facts, findings, opinions and

recommendations contained within those individual records. Although Defendant does not vouch

for all or part of the deposition testimony which may be given by any other party, any of any

other party’s designated expert witnesses, and/or adverse witnesses, Defendant reserves the right

to utilize the deposition and oral testimony of any expert witnesses designated by any other

party. Defendant and its experts reserve the right to utilize all or part of the literature and/or

documents produced, identified or relied upon by other experts designated by any party hereto.

6.        In addition to the previous individual, Defendant reserves the right to designate any

person, or persons, with knowledge of relevant facts that may be identified by any party to this

cause of action as an expert witness, or who may be designated as an expert witness by any party

to this cause of action in response to discovery propounded to that party by any other party in

this case.

Dated: January 3, 2020




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                                                        Respectfully submitted,


                                                        BARRETT DAFFIN FRAPPIER
                                                         TURNER & ENGEL, LLP

                                                        /s/ Crystal G. Gibson
                                                        Crystal G. Gibson
                                                        State Bar No. 24027322
                                                        4004 Beltline Rd., Suite 100
                                                        Addison, Texas 75001
                                                        T – (972) 340-7901
                                                        F – (972) 341-0734
                                                        crystalr@bdfgroup.com

                                                        ATTORNEYS FOR DEFENDANT



                                                CERTIFICATE OF SERVICE

       I certify that a copy of Defendant’s Rule 26(a)(2)(B) Designation of Testifying Experts
has been served on all parties electronically to the parties below on January 3, 2020.

CMRRR 9414 7266 9904 2964 9493 45 and
Regular Mail:
Charles Gonzales
10434 Rocky Hollow
La Porte, Texas 77571
Plaintiff, Pro Se

                                                                        /s/ Crystal G. Gibson____
                                                                      Crystal G. Gibson




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